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  8                         UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                          Criminal Case No. 09CR1209-H
 12                                 Plaintiff,            JUDGMENT AND ORDER OF
                                                          DISMISSAL
 13                          v.
 14
       ESTEBAN VALENZUELA (9),
 15
                                    Defendant.
 16
 17          GOOD CAUSE APPEARING and upon the motion of the Government, and pursuant to the
 18   Deferred Prosecution Agreement submitted by the Defendant and the Government, IT IS
 19   HEREBY ORDERED that the Indictment and the Superseding Indictment in the above entitled
 20   case against Defendant Esteban Valenzuela are both dismissed without prejudice. The Defendant
 21   is hereby discharged and the bond in this case as to Defendant Esteban Valenzuela is hereby
 22   exonerated.
 23          IT IS SO ORDERED.
 24   DATED: June 19, 2012
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 26                                                 MARILYN L. HUFF, District Judge
                                                    UNITED STATES DISTRICT COURT
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